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 1   FLETCHER & LEE
     Elizabeth Fletcher, Esq.
 2   Nevada Bar No. 10082
     448 Ridge Street
 3
     Reno, Nevada 89501
 4   Telephone: 775.324.1011
     Email: efletcher@fletcherlawgroup.com
 5
     Attorneys for Thom and Jette Seal
 6

 7                               UNITED STATES BANKRUPTCY COURT

 8                                   FOR THE DISTRICT OF NEVADA

 9   In re:                                                Case No.: 20-50660-gs

10   METAL RECOVERY SOLUTIONS, INC.,                       Chapter 7 Case
         aka MRS, INC,
11                                                         OPPOSITION TO GEO-LOGIC
                      Debtor.                              ASSOCIATES, INC.’S MOTION TO
12                                                         APPROVE SALE
13
                                                           Hearing Date: July 19, 2023
14                                                         Hearing Time: 1:30 p.m.

15

16

17            Thomas Seal (“Dr. Seal”), by and through his counsel, Elizabeth Fletcher, Esq., Fletcher
18   & Lee, hereby opposes Geo-Logic Associates, Inc.’s (“GLA”) Motion to Approve Sale (the
19   “Motion”). Docket No. 344. In support of this Opposition, Dr. Seal submits the following
20   memorandum of points and authorities, the attached exhibit, the Declaration of Elizabeth Fletcher,
21   Esq. in Support of the Motion to Approve Sale (the “Fletcher Declaration”) and the papers and
22   pleadings on file in this case and the related adversary proceeding, of which Dr. Seal asks the Court
23   to take judicial notice. Fed. R. Evid. 201. Dr. Seal opposes GLA’s Motion for the following
24   reasons:
25            First, on July 7, 2023, Dr. Seal delivered a cashier’s check made out to the “Estate of Metal
26   Recovery Solutions, Inc.” in the amount of $150,000 to undersigned counsel’s office. Fletcher
27   Declaration. Counsel immediately provided the Trustee with a copy of the check. Id. On July 11,
28   2023, JEX Technologies, Inc. (“JEX”) paid the Trustee $1,100,000. Docket No. 350. As the
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 1   Trustee had not required immediate delivery of Dr. Seal’s cashier’s check and undersigned counsel
 2   was required to travel out of town from July 12 – 16, 2023, counsel locked the cashier’s check in
 3   a fireproof safe at her residence. Fletcher Declaration. On July 13, 2023, JEX paid the Trustee
 4   the remainder of its share of the purchase price in the amount of $1,200,000. Docket No. 350. On
 5   July 13, 2023, Trustee’s counsel contacted undersigned counsel, who was working remotely, to
 6   request physical delivery of the cashier’s check to his office; however, undersigned Counsel was
 7   not able to physically deliver the cashier’s check to the Trustee’s counsel until July 17, 2023.1
 8   Fletcher Declaration. Therefore, as of July 17, 2023, the Trustee was in possession of the total
 9   purchase price of $2,450,000.
10          Second, during the July 6, 2023 hearing, this Court noted that it was well within the
11   Trustee’s discretion to provide Element Global, Inc. (“Element”), the prevailing bidder, and JEX
12   and Dr. Seal, the backup bidders, with further time to close on the sale. The Court questioned how
13   GLA even had standing to challenge the Trustee’s discretion given that GLA participated in
14   bidding during the auction but was neither the prevailing bidder nor the backup bidder and, most
15   importantly, GLA’s claim will be paid in full from the sale proceeds. The Court noted that there
16   was little to no harm to GLA based on the delay in closing the sale.
17          Third, this Court already found – after an evidentiary hearing, which GLA demanded –
18   that the sale is an arms-length transaction and that “Element Global, Inc., Jex Technologies, Corp.,
19   and Dr. Seal are entitled to and granted the protections of §363(m) as good faith
20   purchasers.” Docket No. 317. GLA has not been found to be a purchaser, let alone a good faith
21   purchaser.
22          Finally, GLA appears to have other motives in continuing to demand that the Trustee close
23   the sale with GLA. On July 17, 2023, undersigned counsel sent an email to GLA’s counsel
24   requesting that it withdraw the Motion given that the full purchase price had been paid. Fletcher
25   Declaration. On July 18, 2023, GLA responded that if the Trustee and the Court believed that it
26   would be appropriate to proceed with GLA’s offer, GLA was prepared to close. Id. The Trustee
27
     1
28    Fletcher & Lee’s paralegal, Elizabeth Dendary, was also out of town from July 11- 16, 2023.
     Thus, there was no one physically in Reno to deliver the cashier’s check to the Trustee.

                                                      2
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 1   responded that he intended to accept JEX and Dr.’s Seal’s payment. Id. Undersigned counsel sent
 2   another email to GLA asking if it still intended to proceed with the Motion now that the Trustee
 3   had indicated that he intended to allow JEX and Dr. Seal to close the sale. Id. As of this filing,
 4   GLA has not responded. A true and correct copy of the email exchange is attached hereto as
 5   Exhibit A; Fletcher Declaration.
 6          GLA’s refusal to withdraw the Motion is in bad faith. Yet again, GLA has manufactured
 7   this “emergency” to which all parties now must respond, and which requires the Court and all
 8   parties to prepare for and appear at a hearing. GLA has not provided any reason as to why it should
 9   be considered the buyer when it was not the winning bidder or the backup bidder and the Trustee
10   already has the funds to pay its claim in full. By refusing to withdraw the Motion, it is very clear
11   that GLA – as Dr. Seal has alleged all along – is after more than just payment on its claim, i.e.,
12   GLA wants Dr. Seal’s proprietary technology. GLA has given no valid reason for continuing to
13   press the Motion to make itself the buyer.
14          In sum, the Trustee has used his reasonable business judgment, with this Court’s approval,
15   to allow the prevailing and backup bidders more time to close. That has now happened. GLA will
16   be paid in full; thus, it has not been damaged and has no standing to challenge the Trustee’s
17   decision and compel the Trustee to sell the assets to GLA. Based on the foregoing and any
18   argument the Court may entertain at the hearing on the Motion, Dr. Seal respectfully requests that
19   the Court deny the Motion and allow the Trustee to close the sale to JEX and Dr. Seal as intended
20   in the Sale Motion.
21          DATED this 18th day of July, 2023.
22                                                 FLETCHER & LEE
23                                                 /s/ Elizabeth Fletcher, Esq.
                                                   ELIZABETH FLETCHER, ESQ.
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 1                                     CERTIFICATE OF SERVICE
 2          Pursuant to Fed. R. Civ. P. 5(b), I certify under penalty of perjury that I am an employee
 3   of Fletcher & Lee, 448 Ridge Street, Reno, Nevada 89501, and that on July 18, 2023, I served the
 4   Opposition to Motion to Approve Sale by ECF to all those persons registered with the United
 5   States Bankruptcy Court for electronic notice in this matter as follows:
 6          SETH J. ADAMS on behalf of Creditor DIFFERENTIAL ENGINEERING INC.
            sadams@woodburnandwedge.com, jheston@woodburnandwedge.com
 7
            SETH J. ADAMS on behalf of Defendant DIFFERENTIAL ENGINEERING, INC.
 8
            sadams@woodburnandwedge.com, jheston@woodburnandwedge.com
 9
            MICHAEL B. BROWN on behalf of Creditor JEX TECHNOLOGIES CORP.
10          michael.brown@stoel.com, dawn.forgeur@stoel.com,docketclerk@stoel.com
11          LOUIS M BUBALA, III on behalf of Creditor GEO-LOGIC ASSOCIATES, INC.
12          lbubala@kcnvlaw.com, cdroessler@kcnvlaw.com;bsheehan@kcnvlaw.com

13          LOUIS M BUBALA, III on behalf of Defendant GEO-LOGIC ASSOCIATES, INC.
            lbubala@kcnvlaw.com, cdroessler@kcnvlaw.com;bsheehan@kcnvlaw.com
14
            CHRISTOPHER P. BURKE
15          TRUSTEECBURKE@GMAIL.COM, NV35@ecfcbis.com
16
            ELIZABETH A. FLETCHER on behalf of Defendant JETTE SEAL
17          efletcher@fletcherlawgroup.com, edendary@fletcherlawgroup.com

18          ELIZABETH A. FLETCHER on behalf of Defendant THOMAS SEAL
            efletcher@fletcherlawgroup.com, edendary@fletcherlawgroup.com
19

20          ELIZABETH A. FLETCHER on behalf of Interested Party JETTE SEAL
            efletcher@fletcherlawgroup.com, edendary@fletcherlawgroup.com
21
            ELIZABETH A. FLETCHER on behalf of Interested Party THOM SEAL
22          efletcher@fletcherlawgroup.com, edendary@fletcherlawgroup.com
23
            L. EDWARD HUMPHREY on behalf of Debtor METAL RECOVERY SOLUTIONS,
24          INC.
            ed@hlawnv.com, patrick@hlawnv.com,monique@hlawnv.com,megan@hlawnv.com
25
            L. EDWARD HUMPHREY on behalf of Defendant METAL RECOVERY
26          SOLUTIONS, INC.
            ed@hlawnv.com, patrick@hlawnv.com,monique@hlawnv.com,megan@hlawnv.com
27

28          MICHAEL LEHNERS on behalf of Plaintiff CHRISTOPHER P. BURKE
            michaellehners@yahoo.com

                                                     4
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 1
          MICHAEL LEHNERS on behalf of Trustee CHRISTOPHER P. BURKE
 2        michaellehners@yahoo.com
 3
          EDSON K. MCCLELLAN on behalf of Creditor GEO-LOGIC ASSOCIATES, INC.
 4        emcclellan@rutan.com

 5        RONALD P. OINES on behalf of Creditor GEO-LOGIC ASSOCIATES, INC.
          roines@rutan.com, csolorzano@rutan.com
 6

 7        ROBERT T. STEWART on behalf of Creditor JEX TECHNOLOGIES CORP.
          rtstewart@foley.com, rgledhill@foley.com;robert-stewart-
 8        3880@ecf.pacerpro.com;docketflow@foley.com

 9        AMY N. TIRRE on behalf of Interested Party Element Global, Inc.
          amy@amytirrelaw.com, admin@amytirrelaw.com
10

11        AMY N. TIRRE on behalf of Interested Party Empire Capital Management, LLC
          amy@amytirrelaw.com, admin@amytirrelaw.com
12
          U.S. TRUSTEE - RN - 7
13        USTPRegion17.RE.ECF@usdoj.gov
14

15                                            /s/ Elizabeth Fletcher, Esq.
16                                           ELIZABETH FLETCHER, ESQ.

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           EXHIBIT A
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From:              Elizabeth Fletcher
To:                Oines, Ronald; mcl3303@aol.com; Ostrow, Ellen E.; Louis Bubala Esq.; Louis Bubala (LBubala@kcnvlaw.com)
Cc:                Amy Tirre; Elizabeth Dendary
Subject:           RE: In re Metal Recovery Solutions
Date:              Tuesday, July 18, 2023 2:44:29 PM


Ron-

Given what the Trustee’s counsel has indicated below – that he will close with the Jex/Seal funds but
would like to keep the hearing only as a status hearing – does that change GLA’s position on its
motion, i.e., GLA will withdraw it? Or does GLA still intend to pursue the request to have GLA close
the sale?

Liz

Elizabeth Fletcher, Esq.
Fletcher & Lee
448 Ridge Street
Reno, Nevada 89501
775-324-1011
efletcher@fletcherlawgroup.com
www.fletcherlawgroup.com


From: Oines, Ronald <roines@rutan.com>
Sent: Tuesday, July 18, 2023 1:54 PM
To: mcl3303@aol.com; Ostrow, Ellen E. <eostrow@foley.com>; Elizabeth Fletcher
<efletcher@fletcherlawgroup.com>; Louis Bubala Esq. <lbubala@armstrongteasdale.com>; Louis
Bubala (LBubala@kcnvlaw.com) <lbubala@kcnvlaw.com>
Cc: Amy Tirre <amy@amytirrelaw.com>; Elizabeth Dendary <edendary@fletcherlawgroup.com>
Subject: RE: In re Metal Recovery Solutions

Ok, thanks Mike.
Ron


From: mcl3303@aol.com <mcl3303@aol.com>
Sent: Tuesday, July 18, 2023 12:35 PM
To: Ostrow, Ellen E. <eostrow@foley.com>; Elizabeth Fletcher <efletcher@fletcherlawgroup.com>;
Louis Bubala Esq. <lbubala@armstrongteasdale.com>; Louis Bubala (LBubala@kcnvlaw.com)
<lbubala@kcnvlaw.com>; Oines, Ronald <roines@rutan.com>
Cc: Amy Tirre <amy@amytirrelaw.com>; Elizabeth Dendary <edendary@fletcherlawgroup.com>
Subject: Re: In re Metal Recovery Solutions

Hi Ron. All funds have been received by the Trustee from JEX and Dr. Seal ($2.4
Million Certified Funds). This complies with the agreement that was placed on the
record at the last hearing. I will be filing a brief response to your motion indicating this.
I believe we should keep the hearing on calendar for a status hearing since GLA's
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motion was filed after the agreement was placed on the record and the Judge may
have his own thoughts. It is my position that the Trustee is obliged to proceed with the
sale to Jex/Seal since they have complied with the payment terms early.

On Tuesday, July 18, 2023 at 10:46:01 AM PDT, Oines, Ronald <roines@rutan.com> wrote:



If the Trustee and the Court conclude that it is necessary and appropriate to go forward with the sale to
Jex/Seal, GLA accepts that. However, if the Trustee and/or the Court believe it would be appropriate to
proceed with GLA’s offer, GLA is prepared to close.

Ron



Note, it appears you used the wrong email address for Lou, but I added his correct email address to this
email.




From: Ostrow, Ellen E. <eostrow@foley.com>
Sent: Tuesday, July 18, 2023 10:25 AM
To: Oines, Ronald <roines@rutan.com>; Elizabeth Fletcher <efletcher@fletcherlawgroup.com>; Louis
Bubala Esq. <LBubala@armstrongteasdale.com>
Cc: Amy Tirre <Amy@amytirrelaw.com>; mcl3303@aol.com; Elizabeth Dendary
<edendary@fletcherlawgroup.com>; Ostrow, Ellen E. <eostrow@foley.com>
Subject: RE: In re Metal Recovery Solutions



Ron, given that the purchase price has been paid, does GLA intend to prosecute its motion?



Thank you,

Ellen



Ellen E. Ostrow
Senior Counsel

Foley & Lardner LLP | Salt Lake City, UT
Phone 801.401.8952
Visit Foley.com | eostrow@foley.com




From: Oines, Ronald <roines@rutan.com>
Sent: Tuesday, July 18, 2023 11:19 AM
To: Elizabeth Fletcher <efletcher@fletcherlawgroup.com>; Louis Bubala Esq.
<LBubala@armstrongteasdale.com>
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Cc: Amy Tirre <Amy@amytirrelaw.com>; Ostrow, Ellen E. <eostrow@foley.com>; mcl3303@aol.com;
Elizabeth Dendary <edendary@fletcherlawgroup.com>
Subject: RE: In re Metal Recovery Solutions



** EXTERNAL EMAIL MESSAGE **

Liz,

          It is our understanding that the Trustee wishes to keep the hearing on calendar.

Ron




From: Elizabeth Fletcher <efletcher@fletcherlawgroup.com>
Sent: Monday, July 17, 2023 4:15 PM
To: Louis Bubala Esq. <LBubala@armstrongteasdale.com>; Oines, Ronald <roines@rutan.com>
Cc: Amy Tirre <Amy@amytirrelaw.com>; eostrow@foley.com; mcl3303@aol.com; Elizabeth Dendary
<edendary@fletcherlawgroup.com>
Subject: In re Metal Recovery Solutions



Lou and Ron-



I brought Dr. Seal’s cashiers check to Mike today; therefore, the purchase price has been paid in full. I
am writing to ask that you withdraw GLA’s motion set for hearing on Wednesday since it is now moot. It
does not make sense to require everyone to respond to the motion and attend a hearing at this point.
Please advise-



Liz



Elizabeth Fletcher, Esq.

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